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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
(TRENTON VICINAGE)

Lance Aizen,

- CIVIL ACTION NO.
Plaintiff, ;

Wo.

Grover Lee, individually, and in his capacity as shareholder of
AAS Haldings, Inc., as an officer and shareholder of American
Healthcare Administrative Services, Inc., and as Trustee of the
Grover Lee Revocable Living Trust: Christine V. Schaffer,
imdividually, and in her capacity as an officer and sharcholder of
AHAS Holdings, Inc.as an officer, employee and shareholder of
American Healthcare Administrative Services, Inc. and as ;
Trustes of the Christine Schaffer Revocable Living Trust; Charles -
E. Lee, individually, and in his capacity as an employee and :
shareholder of AHAS Holdings, Inc., as employee and sharcholder :
of American Healthcare Administrative Services, Inc., as ‘l'rastee
of the Charles E. Lee 2012 Tmst No. 1, and as Trustee of the ;
(Charles E. Lee 2012 Trust No, 2; Jacqueline C. Lee, individually, :
and in her capacity as an employee and shareholder of AILAS
Holdings, Inc., as an cmployee and shareholder of Amencan
Healtheare Administrative Services, Inc., as Trustee of the
Jacqueline C. Lee 2012 Trust No. |, as Trustee of the Jacqueline

C. Lee Living Trust, and as Trustee of the Jacqueline C. Lee 2012 ; COMPLAINT
Trust No. 2; AHAS Holdings, Inc.; American Healthcare ‘ (with Jury Demand)
Administrative Services, Inc.: Grover Lee Revocable Living
Trust; Christine Schaffer Revocable Living Trust; Charles E.
Lee 2012 Trust No. 1: Charles E. Lee 2012 Trust No. 2;
Jacqueline C. Lee 2012 Trust No. 1; Jacqueline C. Lee Living
Trust; Jacqueline C, Lee 2012 Trust No. 2

Delendants.

Plaintill, Lance Aizen (“Plaintiff”), by way of Complamt against Defendants, Grover Lee,
individually, and in his capacity as shareholder of AILAS Holdings, Inc., as an officer and shareholder
of American Healthcare Administrative Scrviecs, Inc., and as Trustee of the Grover Lee Revocable
Living Trust; Christine V. Schaffer, individually, and in her capacity a3 an officer and shareholder of

AILAS Loldings, Inc., as an officer, employee and shareholder of American Healthcare

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Administrative Services, Inc., and as Trustee of the Christine Schaller Revocable Living Trust;
Charles E. Lee, individually, and in his capacity as an employee and shareholder of AHAS Holdings,
Inc., as employee and shareholder of American Healthcare Administrative Services, Inc_, as Trustee
of the Charles Fk. Lee 2012 Trust No. 1, and as Trustee of the Charles E. Lee 2012 ‘Trust No. 2
Jacqueline C. Lee, individually, and in her capacity as an employee and shareholder of AHAS
Holdings, Inc., as an employee and sharcholder of American Healthcare Administrative Services,
Inc., a8 Trustee of the Jacqueline C, Lee 2012 Trust No. 1, as Trustee of the Jacqueline C, Lee Living
Trust, and as Trustee of the Jacqueline C. Lee 2012 ‘Trust No. 2, Grover Lee Revocable Living
Trust; Christine Schaffer Revocable Living Trust; Charles K. lee 2012 Trust No. 1: Charles E. Lee
2012 Trust No. 2; Jacqueline C. Lee 2012 Trust No, 1; and Jacqueline C. Lee Living Trust; Jacqueline
(. Lee 2012 Trust No. 2 (hereinafter collectively the “Delendant Sharcholders™); Defendant, AHAS
Holdings, Inc. (“AHAS Parent”); and Defendant, American Healthcare Administrative Services, Inc.
(“ALIAS Subsidiary”) (with the Defendant Sharcholders, AHAS Parent and AHAS Subsidiary
hereinafter collectively referred to “Defendants”)with Plaintiff and Delendants hereinafter
collectively referred to as the “Parties”) says:
THE PARTIES

l. Plaintiff, Lance Aizen, 15 Lagoon Drive South, Beach Haven, New Jersey 08008, isa
cilazen of the State of New Jersey, the PresidentChief Executive Officer and a shareholder of
Defendant, AILAS Holdings, Inc., and an officer and sharcholder of Defendant, American Healthcare
Administrative Services, Inc.

Pe Defendant, Grover Lee, 200 Gateway Drive #190, Lincoln, CA 95648, is a citizen of
the State of California, a sharcholder of Defendant, AHAS Holdings, Inc., an officer and sharcholder
of Defendant, American Healthcare Administrative Services, Inc., and a Trustee of Defendant, the

Grover Lee Revocable Living Trust.

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3 Defendant, AHAS Holdings, Inc., is a Delaware corporation, and owns one-hundred-
percent (100%) of Defendant, American Healthcare Administrative Services, Inc.

4. Defendant, American Healthcare Administrative Services, Inc, 3850 Atherton Road,
Rocklin, CA 95765, is a Califomia corporation,

3. Defendant, the Grover Lee Revocable Living Trust, 200 Gateway Drive #190,
Lincoln, CA 93648, is, upon information and belief, a trust established under the laws of the State of
Cuhfomuia.

6. Detendant, Christine V. Schaffer, also known as Christine V. Lec, 8434 Twin Lake
Dnve, Boca Raton, FL 33496, is a citizen of the State of Florida, an officer and shareholder of
Defendant, AHAS Holdings, Inc., an officer, employee and shareholder of Defendant, American
Healthcare Administrative Services, Inc., and a Trustee of Defendant, the Christine SchafTer
Revocable Living Trust.

Tt Defendant, the Christine Schaffer Revocable Living Trust, 8434 Twin Lake Drive,
Boca Raton, FL 33496, is, upon information and belicf, a trust established under the laws of the State
of California.

8. Defendant, Charles FE. Lee, $434 Twin Lake Drive, Boca Raton, FI. 33496, 15 a citizen
of the State of Flonda, an employee and shareholder of Defendant, AIIAS Holdings, Inc., an
employee and sharcholder of Defendant, American Healthcare Administrative Services, Inc. a
Trustee of Defendant, the Charles E. Lee 2012 Trust No. 1, and a Trustee of Defendant. the Charles
EB. Lee 2012 Trust No. 2.

9, Defendant, the Charles E. Lee 2012 Trust No. 1, $434 Twin Lake Drive, Boca Raton,
PL. 33496, is, upon information and belief, a trust established under the laws of the State of Califormia.

10. Defendant, the Charles E, Lee 2012 Trust No, 2, 8434 Twin Lake Drive, Boca Raton,

FL 33496, is, upon information and belief, a trust established under the laws of the State of California.

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ll. Defendant, the Charles E. Lee living Trust, $434 Twin Lake Drive, Boca Raton, FI.

33496, 1s, upon information and belicf, a trust established under the laws of the Slate of California.

12. Jacqueline C. Lee, 9701 Wilshere Boulevard, Beverly Hills, CA 90212, isa citizen of
the State of California, an employee and sharcholder of Defendant, AHAS Holdings, Inc, an
employee and sharcholder of Defendant, American Ilealthcare Administrative Services, Inc., a
Trustee of Defendant, the Jacqueline C. Lee 2012 Trust No. 1, a Trustee of Defendant, the Jacqueline
C. Lee Living Trust, and 4 Trustee of Defendant, the Jacqueline C. Lee 2012 Trust No. 2.

13, Defendant, the Jacqueline C. Lee 2012 Trust No. 1, 9701 Wilshere Boulevard, Beverly
Hills, CA 90212, is, upon information and belief, a trust established under the laws of the Statc of
Cahfomia,

14. Defendant, the Jacqueline C, Lee 2012 Trust No. 2, 9701 Wilshere Boulevard, Beverly
Hills, CA 90212, is, upon information and belief, a trust established under the laws of the State of
(California.

13. Defendant, the Jacqueline C. Lee Living Trust, 9701 Wilshere Boulevard, Beverly
Hills, CA 90212, is, upon information and belicf, a trust established under the laws of the State of
California.

JURISDICTION AND VENUE

16. This court has jurisdiction over this matter pursuant to 28 U.S.C. $1332 because
Plaintiff is a citizen of New Jersey, and, as set forth above in paragraphs 2-15, all of the Defendants
are cilizens of states other than New Jerscy, and the amount in controversy exceeds $75,000, exclusive
of interests and costs.

17. Venue in this district is proper pursuant to 28 U.S.C. §1391(a) because a substantial
part of the events or admissions giving rise to this action occurred in the District of New Jersey, where

Plaintiff resides.

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COUNTI
(BREACH OF CONTRACT)

18. Plaintill repeats and restates all of the allegations set forth in paragraphs 1 through 17
above, as i repeated verbatim herein.

19. On June 27, 2018, Plaintiff and entered into a legally binding and fully executed
Agreement To Terminate Employment Agreement with Defendant, AHAS Subsidiary (“lermination
Agreement”), which was approved by all shareholders of AHAS Parent, in connection with a third-
party purchase of certain assets of AHAS subsidiary through ils AHAS Parent, which said assct
purchase was approved by all of the shareholders of AHAS Parent and AHAS Subsidiary, who were
Plaintiff and the Delendant Shareholders.

20. As part of that third-party asset purchasc, and as inducement for Plaintiff, as a
sharcholder to agree to thal sale transaction, and as consideration for Plaintill to enter into the
‘Termination Agreement, Defendants agreed to pay Plaintiff twenty-million, cight-hundred thousand
dollars ($20,800,000.00)

21. Pursuant to paragraph 2 of the Termination Agreement, Defendants agreed that, at
closing on the asset purchase transaction, Plaintiff would be paid a lump sum benus of ninc-million
dollars ($9,000,000), which Plaintiff received,

23. As sct forth in Section G of the Termination Agreement, AHAS Subsidiary agreed that
the remaining eleven million, eight-hundred thousand dollars ($11,800,000.00) owed to Plaintiff
following closing on the third-party asset purchase transaction, was either to be paid through creation
of a new company, or by providing Plaintiff with a new ownership interest in Defendant, AHAS
Subsidiary, such that the $11.8 million would be paid to Plaintiff in priority shareholder distributions
paid belore any distributions of any kind are paid to the Defendant Shareholders and other
shareholders.

24. The Parties agree that the new company referenced in Section G of the Termination

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Agreement cannot be created due to thal new company’s inabilily to meet its intended purpose under
the ‘Termination Agreement.

23. Plaintiff has fully performed all of his obligations to Defendants following closing on
the third-party asset transaction, including, but not limited to, his obligations under the Tennination
Agrecment.

26. However, Defendants have refused to comply with Section G of the Temmnination
Agreement, which requires them to pay Plaintiff the remaining $11.3 million still owed to him through
priority shareholder distributions of AHAS Subsidiary,

27. Defendants have also refused to grant Plaintiff a new ownership interest in AHAS
Subsidiary or AFLAS Parent, as required under the Termination Agreement.

25. The foregome conduct of Defendants constitutes material breaches of the lermination
Agreement,

29. Thus, as of this date, there is currently an amount due and owing by Defendants io
PlaintilT of $11.3 million dollars.

3). Delendants” foregoig material breach of the Termimation Agreement with Plaintiff
has directly and proximately caused PlamtifT damages of $11.5 million dollars to date.

WHEREFORE, Plamull requests entry of judgment agamst Defendants, AHAS Parent,
AHAS Subsidiary, and the Defendant Shareholders, both individually and in their respective capacily
as officers and shareholders of AHAS Parent and AHAS Subsidiary, jointly and severally, lor
damages in excess of $11.300.000.00, plus any additional amounts due and owing under the
Tenmination Agreement, together with punitive damages, attorney's fees, pre-judpment interest, costs

and such other relief as this Court deems appropriate.

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COUNT U
(QUANTUM MERUIT/UNJUST ENRICHMENT)

31. PlainulT hereby incorporates by reference the preecding paragraphs 1-30,

32. Plaintiff only agreed to the third-party asset purchase transaction, and the Termination
Agreement exccuted in conjunction therewith, based on agreement by the Partics that he would
receive total monetary consideration of $20.8 million dollars.

43, Plaintiff reasonably relied on the representations and acknowledgement of the
Defendants that he would be paid $20.8 million for agreeing to the third-party asset transaction and
for entering into the Termination Agreement.

34. Defendants have accepted the benefits of the third-party asset transaction and the
‘Termination Agreement with Plaintiff.

35. Defendants have been unjustly enriched by the reecipt of the full asset purchase funds
by wrongfully withholding the $11.5 million dollars sll owed to Plaintiff, and will continue to be
unjustly cnniched by their receipt those funds, including, but not limited to, five-million dollars
($5,000,000.00) being held in an escrow account that will be paid to Defendants as part of that third-
partly assel transaction.

36. It would be against equity and good conscience to permit Defendants to retain the
benefits of the third-party assct purchase funds owed to Plaintiff without just compensation to
Plaintiff, even if, arguendo, there is no binding agreement between PiaintifT and Defendants.

37. Tf, arguendo, it is determined that there is no remedy at law for Plaintiff, it would be
inequitable to allow Defendants to retain the third-party asset purchase funds thal are duc and owing
to Plaintiff, including the $5 million in escrow, without requiring Defendants to pay PlaintilT the full
$20.8 consideration that Defendants agreed to pay Plaintiff from that transaction.

WHEREFORE, Plaintiif requests entry of judgment against Defendants, AHAS Parent,

AHAS Subsidiary, and the Defendant Shareholders, both individually and in their respective capacity
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as Olficers and sharcholders of AHAS Parent and AHAS Subsidiary, jointly and severally, for

damages in excess of $11,300,000.00, plus any additional amounts due and owing under the
Termination Agreement, logether with punitive damages, attomey's fees, pre-judgment interest, costs
and such other reliel as this Court deems appropriate.

COUNT Il
(PROMISSORY ESTOPPEL)

38. PlaintiT hereby incorporates by reference the preceding paragraphs 1-37.

39. In the altemative to recovery under breach of contract, Plaintiff is entitled to recovery
under the doctrine of promissory estoppel.

40. Atall times material hereto, Defendants promised Plaintiff that he would be paid $20.8
Thillion dollars as part of the third-party assct purchase transaction.

41. Delendanis made these promises io Plaintiff with the reasonable expectation of
mducing action, and detrimental reliance, on the part of Plamtiff.

42. Plaintiff has fully complied with all of his closing and post-closing obligations relating
to, or ansing from the third-party assct purchase transaction.

43. There is now the amount $11,300,000.00 due and owing from Defendants to Plaintiff

in connection with the third-party asset purchase iransaction and the Tenmination Agreement.
44, Defendants have matenally breached its promises to pay Plaintiff the full $20.8 million
consideration owed to him as part of the third-party assel purchase transaction.

45. The foregoing material breach has directly and proximately caused Plaintiff damages

of approximately $11,300,000.00.

46. The Court can only avoid injustice by finding that Defendants’ promises to PlaintilT
are binding.

WHEREFORE, Plaintiff requests entry of judgment against Defendants, AILAS Parent,

ATLAS Subsidiary, and the Defendant Sharcholders, both individually and in their respective capacity
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as officers and sharcholders of AHAS Parent and AHAS Subsidiary, jointly and severally, for

damages in excess of $11,300,000.00, plus any additional amounts due and owing under the
Termination Agreement, together with punitive damages, allormey’s fees, pre-judement interest, costs
and such other relief as this Court deems appropriate.

COUNT IV
(INJUNCTIVE RELIEF-SPECIFIC PERFORMANCE)

47. Plaintill hereby incorporates by reference the preceding paragraphs 1-46,

48. Given Defendants’ breach of their agreements and promises to pay Plaintiff the full
$20.8 million dollars owed to him as part of the third-party asset purchase transaction, PlaintifT, both
individually, and as the President/Chief Executive Officer and a shareholder of Defendant, AHAS
Parent, and as an officer and shareholder of Defendant, AHAS Subsidiary, reasonably belicves that
the Defendant Shareholders will wrongfully convert revenue, bank and escrow accounts. and assets
of AHAS Parent and AHAS Subsidiary, including, but not limited to, funds from the third-party asset
purchase transaction, including the $5 million of transaction funds being held in escrow, and
remaining tebale contracts of AHAS Subsidiary, lo their own control and use, and/or will dissipate
such funds, in order to wrongfully deprive Plaintiff of the remaining $11.3 million dollars still owed
to him as part of the third-party asset purchase transaction and the Termination Agreement.

49. Any such wrongful conversion and/or dissipation of the remaining assets, bank and
escrow accounts, and revenue of AHAS Parent and/or ALIAS Subsidiary prior to Plaintiff being, fully
paid the remaming $11.3 million dollars owed to him through priority shareholder distributions paid
before any distributions of any kind are paid to the Defendant Sharcholders and other shareholders
will cause irreparable harm to Plaintiff, since his ability to ever collect the remaining $11.3 million
dollars still owed to him will be significantly, if not completely, and permanently prejudiced.

30. Therefore, Plaintiff demands that Defendants be compelled to specifically perform

pursuant to their agreements and promises to pay Plaintiff the remaining $11.3 million dollars still
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owed to him through priority shareholder distributions paid before any distributions of any kind are

paid to the Defendant Sharcholders and other shareholders, and secks injunctive relief preventing and
enjoming Defendants, including, but not limited to, the Defendant Shareholders, from converting any
of the remaining assets, hank and escrow accounts, and revenue of AHAS Parent and/or AHAS
Subsidiary until such time as Plaintill is fully paid the remaining $11.3 million dollars still owed to
him by Defendants through either a lump sum and/or through priority distributions from any and all
profits from AHLAS Parent and/or AHAS Subsidiary paid to Plaintiff before any distributions of any
kind are paid to the Defendant Shareholders and other shareholders.

WHEREFORE, with camse having been shown, Plaintiff demands judgment against the
Defendants, jointly and severally, for the following relicf: (1) specific performance; (2) injunctive
reliel; (3) compensatory damages: (4) exemplary damages; (5) consequential damages: (6) punitive
damages: (7) treble damages; (8) altormcy's fecs and costs; and (9) such other relief the court may
deem equitable and just.

DEMAND FOR TRIAL BY JURY

Plaintill demands a trial by jury on all issues and allegations in this action.

Dated: October 23, 2018
‘si Matthew A. Peluso. Esq.
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Counsel for Plaintiff, Lance Aizen

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